Case 1:05-cr-00206-WS-B          Doc# 392       Filed 02/06/06      Page 1 of 1      PageID# 978




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
vs.                                              )      CRIMINAL NO. 05-00206-WS
                                                 )
WILLIE EARL CARTER, JR.,                         )
                                                 )
               Defendant.                        )

                                             ORDER
       This matter is before the Court on the defendant’s appeal of the Magistrate Judge’s order
denying his motion to compel disclosure of the identity of certain informants. (Doc. 373).1 The
Magistrate Judge’s order may be set aside or modified only to the extent it is clearly erroneous or
contrary to law. 28 U.S.C. § 636(b)(1)(A); Local Rule 72.3(e). The Magistrate Judge’s order,
(Doc. 294), plainly is neither. The defendant’s appeal fails to identify any reversible deficiency
in that document, and it would serve no good purpose to re-examine herein the defendant’s
arguments on appeal, which were correctly rejected — both expressly and by necessary
implication — in the Magistrate Judge’s well-reasoned order. Accordingly, the Magistrate
Judge’s order is affirmed.


       DONE and ORDERED this 3rd day of February, 2006.

                                                      s/ WILLIAM H. STEELE
                                                      UNITED STATES DISTRICT JUDGE




       1
        The Court assumes without deciding that the appeal was timely filed.
